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UNITED sTATEs DISTRICT CoURT m B"' -- °'°'
wEsTERN DIsTRICT 0F TENNESSEE
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Western Division 05 JUL l l PH 3 |2

UNITED sTATEs 0F AMERICA Umcull'gilsryl§im~§§r“mm
WD OF ill .*~¢§EMPHB
-vs- Case No. 2:00cr20015-D

KENDRICK WATSON

 

ORDER OF DETENT|ON PEND|NG TRlAL
F|NDINGS
In accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTlONS REGARD|NG DETENT|ON

Kendrick Watson is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. Kendrick Watson

shall be afforded a reasonable opportunity for private consultation with defense counsel. On order

of a Court of the United States or on request of an attorney for the government, the person in charge
of the corrections facility shall deliver the Defendant to the United States marshal for the purpose
of an appearance in connection with a Court proceeding

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Date: July 8, 2005 5 //MMQS Q¢¢

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Th!e document entered on the docket shea ln co e
w|th Ftule 55 and/or 32(b) FHCrP on

 

 

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This notice confirms a copy of the document docketed as number 93 in
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Honorable Bernice Donald
US DISTRICT COURT

